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Case 3:21-cv-00098-E Document 127 Filed 01/03/22 Page 1 of 3 PageID 2678




            United States Court of Appeals
                 for the Fifth Circuit
                                    ___________

                                     No. 21-11095
                                    ___________

    Southwest Airlines Company,

                                                                         Plaintiff—Appellee,

                                              versus

    Kiwi.com, Incorporated; Kiwi.com, Self Regulatory
    Organization,

                                           Defendants—Appellants.
                   ______________________________

                  Appeal from the United States District Court
                      for the Northern District of Texas
                            USDC No. 3:21-CV-98
                  ______________________________

    CLERK’S OFFICE:
          Under Fed. R. App. P. 42(b), the appeal is dismissed as of January
    03, 2022, pursuant to appellants’ unopposed motion.




                           A True Copy
                           Certified order issued Jan 03, 2022


                           Clerk, U.S. Court of Appeals, Fifth Circuit
 Case: 21-11095    Document: 00516150675 Page: 2 Date Filed: 01/03/2022
Case 3:21-cv-00098-E Document 127 Filed 01/03/22 Page 2 of 3 PageID 2679
                               No. 21-11095




                                         LYLE W. CAYCE
                                         Clerk of the United States Court
                                         of Appeals for the Fifth Circuit


                                By: _________________________
                                       Lisa E. Ferrara, Deputy Clerk

                    ENTERED AT THE DIRECTION OF THE COURT




                                    2
  Case: 21-11095    Document: 00516150674 Page: 1 Date Filed: 01/03/2022
 Case 3:21-cv-00098-E Document 127 Filed 01/03/22 Page 3 of 3 PageID 2680



                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                TEL. 504-310-7700
CLERK                                                     600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                         NEW ORLEANS, LA 70130

                           January 03, 2022


Ms. Karen S. Mitchell
Northern District of Texas, Dallas
United States District Court
1100 Commerce Street
Earle Cabell Federal Building
Room 1452
Dallas, TX 75242

      No. 21-11095    Southwest Airlines v. Kiwi.com
                      USDC No. 3:21-CV-98


Dear Ms. Mitchell,
Enclosed is a copy of the judgment issued as the mandate.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk

                                 By: _________________________
                                 Lisa E. Ferrara, Deputy Clerk
                                 504-310-7675
cc w/encl:
     Mr. Ryan Bates
     Mr. Samuel Wallace Dunwoody
     Mr. Kieran McCarthy
     Mr. Michael C. Wilson
